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     Joshua Lapin, Pro Se Plaintiff
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 2   STE 214 PMB 7452
     Sioux Falls SD 57103
 3
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 4
     Facsimile: (605) 305-3464
 5

 6                                UNITED STATES DISTRICT COURT
 7                             NORTHERN DISTRICT OF CALIFORNIA
 8                                       IN AND FOR SAN JOSE
 9

10   Joshua Lapin                                      )
                                                       ) Case No.: 5:2022cv03158
11   Plaintiff,                                        )
                                                       )
12          vs.                                        )
                                                       ) PLAINTIFF’S MOTION TO APPEAR
13   AML Network Limited dba Qpid Network              )
                                                       ) VIRTUALLY AND/OR
14   John Doe Senders 0-5                              ) TELEPHONICALLY IN THE
                                                       )
15   Defendant                                         ) FORTHCOMING CASE MANAGEMENT
                                                       )
16                                                     ) CONFERENCE, OR ALTERNATIVELY
                                                       )
17                                                     ) TO CONTINUE THE SAME, PURSUANT
                                                       )
18                                                       TO Civil L.R. 7
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     COMES NOW Plaintiff Joshua Lapin, pro se, respectfully moving the court to allow all parties and
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     council to appear remotely, by telephone and/or videoconference, in lieu of personal appearance in
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     the forthcoming Case Management Conference.
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                                                    1
                                                COMPLAINT
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 1
                                              ARGUMENT
 2
     1. Both parties are domiciled thousands of miles from the forum. Defendant AML Network
 3
     Limited admits it is a Shatin, Hong Kong corporation with a Marshall Islands parent company.
 4
     Plaintiff Joshua Lapin is an individual living in Sioux Falls, South Dakota.
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 6   2. Flights are very expensive from Sioux Falls, South Dakota; Southwest does not operate in the
 7   state and United and American flights to/from Sioux Falls and San Jose are generally $400-$600
 8   each way. Plaintiff would also need to house himself in an AirBnb, and uber/lyft to/from the
 9   courthouse. All-in-all, thousands of dollars would be incurred in order to attend a ten-minute,
10   routine, case management conference hearing which could easily be conducted by telephone, zoom,
11   or microsoft teams. Defendant, on the other hand, is represented by Squire Patton Boggs, whose
12   sole office in California is as far south as Los Angeles. Further, Brent Owen of the same firm
13   resides in Denver, and would likely benefit from the ability to watch or participate from afar.
14
     3. An in-person requirement would likely reduce the prospects of the parties settling this matter,
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     provided it survives the pending motion to dismiss, as the costs on both sides would have increased
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     and needlessly so.
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                          ALTERNATIVE REQUEST FOR RELIEF
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19   4. If this court decides to keep the case management hearing “traditional,” thereby denying leave to
20   appear by remote means, plaintiff would request the same to be postponed not sooner than two
21   weeks from the order, such that cost-effective flights and AirBnb’s can be arranged, and prejudice
22   thereby minimized. Plaintiff reminds the court that he is a natural person or more modest means
23   than the wealthy and powerful corporate defendant.
24                                L.R. 16-2(d)(2) CONFER STATEMENT
25   Plaintiff texted Mr. Owens asking for his position on the same, and will update this motion if the
26   need arises.
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                                                      2
                                                  COMPLAINT
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                                         Certificate of Service
 1
     This motion will be served onto AML Network Limited’s counsel, Brent Owen of Squire Patton
 2
     Boggs (US) LLP, through CM/ECF. A courtesy copy will also be sent by email to Mr. Owen and
 3
     staff.
 4
     /s/ Joshua A. Lapin
 5   Joshua A Lapin
     Pro Se Plaintiff 03/16/23
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 7   Signature
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                                              COMPLAINT
